        Case
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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                 for the
                                                      Central District
                                                   __________  DistrictofofCalifornia
                                                                            __________

                  JANE DOE, an individual,                          )
                                                                    )
                                                                    )
                                                                    )
                            Plaintiff(s)                            )
                                                                    )
                                v.                                         Civil Action No. 5:20-cv-01135 -JGB-KKx
                                                                    )
COUNTY OF SAN BERNARDINO, JULIO GARCIA,                             )
PROBATION OFFICER RUTLEDGE, YBON CORTA,                             )
          DOES 1-10, INCLUSIVE.                                     )
                                                                    )
                           Defendant(s)                             )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) COUNTY OF SAN BERNARDINO, JULIO GARCIA, PROBATION OFFICER
                                           RUTLEDGE, YBON CORTA, DOES 1-10, INCLUSIVE.




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: JAMES S. TERRELL (SBN: 170409)
                                           Law Office of JAMES S. TERRELL
                                           15411 Anacapa Road
                                           Victorville, California 92392
                                           E-mail: jim@talktoterrell.com
                                           (760)951-5850

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                             CLERK OF COURT


Date:     6/3/2020
                                                                                         Signature of
                                                                                                   o Clerk or Deputy Clerk
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